          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 1 of 31



1

2

3
4

6

7

8

9

10                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
11                                    SAN JOSE DIVISION
12

13
                                                          CASE NO. 5:13-cv-4513-RMW
     EVOLUTIONARY INTELLIGENCE, LLC
14
                                                          PLAINTIFF EVOLUTIONARY
                                   Plaintiff,
15                                                        INTELLIGENCE LLC’S NOTICE OF
                                                          MOTION AND MEMORANDUM OF
16          v.                                            POINTS AND AUTHORITIES IN
                                                          SUPPORT OF ITS MOTION FOR
17   SPRINT NEXTEL CORP. et al.,                          RELIEF FROM JUDGMENT

18                                Defendants.             [Fed. R. Civ. P. 60(b)(6)]

19   (Proposed caption: In re Evolutionary Intelligence   Hearing Date: February 6, 2019
     Patent Litigation.)                                  Time: 10:00 AM
20                                                        Dept: Courtroom 6, 4th Floor

21

22

23

24

25

26

27

28


     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
            Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 2 of 31


                                                       TABLE OF CONTENTS
1
     TABLE OF AUTHORITIES.......................................................................................................... iii
2
     I.       INTRODUCTION ............................................................................................................... 1
3
     II.      BACKGROUND ................................................................................................................. 3
4
     III.     PROCEDURAL HISTORY ................................................................................................ 9
6
     IV.      APPLICABLE LAW ......................................................................................................... 11
7
              A.        Ninth Circuit Law Governs This Court’s Rule 60(b)(6) Analysis. ....................... 11
8
              B.        Legal Standard For Relief Under Rule 60(b)(6). .................................................. 12
9
     V.       ARGUMENT .................................................................................................................... 13
10
              A.        The Federal Circuit’s Decisions in Berkheimer and Aatrix Represent
11                      an Intervening Change in the Law of § 101, Holding That § 101
                        Determinations Involve Questions of Fact, and May Be Resolved at
12                      the Rule 12 Stage “Only” Where “There Are No Factual
                        Allegations” That Prevent Resolving § 101 As a Matter of Law. ......................... 13
13
              B.        Under Phelps’ Six-Factor Test for Determining Whether
14                      “Extraordinary Circumstances” Exist, Relief from this Court’s 2015
                        Order is Warranted Under Rule 60(b)(6). ............................................................. 15
15
                        1.         Lack of Clarity in the Law at the Time of the Original
16                                 Decision. .................................................................................................... 15
17                      2.         EI’s Manifest Diligence in Pursuing its Claim for Relief. ........................ 16
18                      3.         Reopening the Case Would Not Upset the Parties’ Interest in
                                   Finality....................................................................................................... 16
19
                        4.         Any Delay Between the Finality of the Judgment and the
20                                 Instant Motion for Relief Under Rule 60(b)(6) is Minimal....................... 17
21                      5.         The Close Relationship Between the Original Judgment and
                                   the Subsequent Intervening Change in the Law. ....................................... 18
22
                        6.         This Case Raises No Comity Concerns. .................................................... 18
23
                        7.         Additional Factors, Such as the “Risk of Injustice” and “Risk
24                                 of Undermining Public Confidence in the Judicial Process,”
                                   Warrant Vacatur Under Rule 60(b)(6). ..................................................... 18
25
              C.        Under Berkheimer/Aatrix, This Court Must Vacate Its 2015 Order
26                      and Consider EI's Factual Evidence Before Ruling On Subject
                        Matter Eligibility Under § 101. ............................................................................. 19
27
                        1. Disputed Issue of Fact #1: Whether Statements in the
28                         Specification Show That EI’s Claims Contain “Inventive
                           Concepts” and Improvements to Computer Functionality,
                                                      i
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
           Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 3 of 31


                                 Compared to Conventional Systems Using the “Static
1                                Information Model.” .................................................................................. 19
2                     2.         Disputed Issue of Fact #2: Whether EI’s Expert Testimony
                                 Shows That One Skilled in the Art at the Time of Filing
3                                (1998) Would Recognize EI’s Claimed Inventions to Be
                                 “Groundbreaking Departures from the Static Information
4                                Model” Used by Conventional Systems. ................................................... 22
6                     3.         Disputed Issue of Fact #3: Whether the Claim Terms
                                 “Register” and “Gateway,” in Combination With Other
7                                Elements, Constitute Inventive Concepts Under § 101, In
                                 Light of Evidence from the Specification, Expert Testimony,
8                                and IPR Proceedings. ................................................................................ 24
9    VI.    CONCLUSION ................................................................................................................. 25
10
11

12

13

14

15

16
17

18

19

20

21

22

23

24

25

26

27

28

                                                     ii
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 4 of 31



1                                                 TABLE OF AUTHORITIES
2
     Cases
3
     Aatrix Software, Inc. v. Green Shades Software, Inc.,
4
             882 F.3d 1121 (Fed. Cir. 2018) ................................................................................ 1, 2, 5, 10
6
     American Axle & Manufacturing, Inc. v. Neapco Holdings LLC,
7
             2018 WL 1061371 (D. Del. Feb. 27, 2018) ......................................................................... 15
8
     Ancora Techs, Inc. v. HTC America, Inc.,
9
             908 F.3d 1343 (Fed. Cir. 2018) ...................................................................................... 20, 21
10
     Anderson v. Kane,
11
             2009 WL 3059122 (D. Ariz. 2009) ...................................................................................... 15
12
     Ashland Oil, Inc. v. Delta Oil Prods. Corp.,
13
             806 F.2d 1031 (Fed. Cir. 1986) ............................................................................................ 11
14
     Berkheimer v. HP Inc.,
15
             881 F.3d 1360 (Fed. Cir. 2018) ..................................................................................... passim
16
     Berkheimer v. HP Inc.,
17
             890 F.3d 1369, 1370 (Fed. Cir. May 31, 2018) ................................................................ 5, 15
18
     Broyhill Furniture Industries, Inc. v. Craftmaster Furniture Corp.,
19
             12 F.3d 1080 (Fed. Cir. 1993) .............................................................................................. 12
20
     Buck v. Davis,
21
             137 S.Ct. 759 (2017) ...................................................................................................... 13, 18
22
     Connelly v. Hilton Grand Vacations Company,
23
             2017 WL 5194598 (S.D. Cal. 2017) .................................................................................... 12
24
     Enfish LLC v. Microsoft Corp.,
25
             822 F.3d 1327 (Fed. Cir. 2016) .................................................................................. 7, 20, 21
26
     Eubank v. Terminix International, Inc.,
27
             2016 WL 6277422 (S.D. Cal. 2016) .............................................................................. 12, 17
28
     Evolutionary Intelligence LLC v. Sprint Nextel Corp.,
                                                     iii
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
           Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 5 of 31



1           138 S.Ct. 521 (2018) ............................................................................................................ 10
2    Evolutionary Intelligence LLC v. Sprint Nextel Corp.,
3           677 Fed.Appx. 679 (Fed. Cir. 2017) ................................................................................ 7, 10
4    Gonzalez v. Crosby,
6            545 U.S. 524 (2005) ............................................................................................................. 12
7    In re Pacific Far East Lines, Inc.,
8            889 F.2d 242 (9th Cir. 1989) ............................................................................................ 3, 12
9    Information Systems and Networks Corp. v. United States,
10           994 F.2d 792 (Fed. Cir. 1993) .............................................................................................. 11
11   Intellectual Ventures I LLC v. Symantec Corp.,
12           725 Fed.Appx. 976 (Fed. Cir. Mar. 15, 2018).................................................................. 8, 24
13   Jones v. Ryan,
14          733 F.3d 825 (9th Cir. 2013) ................................................................................................ 17
15   Lazare Kaplan Inter., Inc. v. Photoscribe Technologies, Inc.,
16           714 F.3d 1289 (Fed. Cir. 2013) ............................................................................................ 11
17   Local Intelligence, LLC v. HTC America, Inc.,
18           2018 WL 1697127 (N.D. Cal. Apr. 6, 2018)........................................................................ 15
19   Lopez v. Ryan,
20           678 F.3d 1131 (9th Cir. 2012) .................................................................................. 12, 13, 15
21   Papst Licensing Gmbh & Co. KG v. Xilinx Inc.,
22           2016 WL 4398376 (N.D. Cal. Aug. 18, 2016) ....................................................................... 3
23   Phelps v. Alameida,
24           569 F.3d 1120 (9th Cir. 2009) ....................................................................................... passim
25   Ritter v. Smith,
26           811 F.2d 1398 (11th Cir. 1987) ............................................................................................ 17
27   TNS Media Research LLC v. TIVO Research and Analytics, Inc.,
28           223 F.Supp.3d 168 (S.D.N.Y. 2016) ................................................................................ 2, 16

                                                     iv
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
             Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 6 of 31



1    U.S. v. Colvin,
2               204 F.3d 1221 (9th Cir. 2000) .............................................................................................. 17
3
     Statutes
4
     35 U.S.C. § 101 ......................................................................................................................... passim
6
     Other Authorities
7
     IBG LLC v. Trading Techs. Int’l, Inc.,
8
                2017 WL 3394060 (P.T.A.B. Aug. 7, 2017) .......................................................................... 4
9

10   Rules

11   Fed. R. Civ. P. 12 ............................................................................................................................... 6

12   Fed. R. Civ. P. 12(b)........................................................................................................................... 1

13   Fed. R. Civ. P. 12(c) ........................................................................................................................... 1

14   Fed. R. Civ. P. 60(b)(6) .................................................................................................................. 1, 3

15

16
17

18

19

20

21

22

23

24

25

26

27

28

                                                     v
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
              Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 7 of 31



1              NOTICE OF MOTION
2              NOTICE IS HEREBY GIVEN that on February 6, 2019 at 10:00 AM, or as soon thereafter
3    as counsel may be heard, Plaintiff Evolutionary Intelligence, LLC (“EI”) will and hereby does move
4    for an order vacating the Court’s Order Granting Defendants’ Motion to Dismiss and for Judgment
6    on the Pleadings, Dkt. No. 225 (“the 2015 Order”). This motion is made under Fed. R. Civ. P.
7    60(b)(6).
8              REQUESTED RELIEF
9              Pursuant to Fed. R. Civ. P. 60(b)(6), Plaintiff Evolutionary Intelligence, LLC (“EI”) hereby
10   moves for relief from this Court’s October 6, 2015 Order Granting Defendants’ Motion to Dismiss
11   and for Judgment on the Pleadings, Dkt. No. 225 (“the 2015 Order”), on the basis of the intervening
12   change in the law caused by the Federal Circuit’s decisions in Berkheimer v. HP Inc., 881 F.3d 1360
13   (Fed. Cir. 2018) and Aatrix Software, Inc. v. Green Shades Software, Inc., 882 F.3d 1121 (Fed. Cir.
14   2018), and the extraordinary circumstances of EI’s case.
15             STATEMENT OF THE ISSUES TO BE DECIDED
16             Do the extraordinary circumstances of EI’s case and the intervening change in the law under
17   Berkheimer/Aatrix warrant relief from judgment?
18       I.    INTRODUCTION
19             Here, two months after EI’s petition for certiorari was denied, the Federal Circuit adopted as
20   controlling precedent in Berkheimer/Aatrix the very position for which EI had advocated throughout
21   this case—namely, that 35 U.S.C. § 101 involves questions of fact. Berkheimer/Aatrix thereby
22   undercut the basis for this Court’s 2015 Order, in which the Court decided § 101 as a pure question
23   of law and refused to consider EI’s factual evidence or recognize any questions of fact relevant to
24   its § 101 analysis. 1
25
     1
      The Court’s 2015 Order granted § 101 motions brought by Defendants in all nine of the related
26   cases (Case Nos. 13-04513, 13-04201, 13-04202, 13-04203, 13-04204, 13-04205, 13-04206, 13-
     04207, and 13-03587). For the sole purpose of deciding this instant motion for relief from the
27   Court’s 2015 Order under Rule 60(b)(6), EI separately moves to consolidate all nine of the related
     cases under the proposed caption In re Evolutionary Intelligence Patent Litigation, and to
28   designate this case (No. 13-04513) as the lead case under that caption. Further, while some
     Defendants moved to dismiss under Fed. R. Civ. P. 12(b), and others under 12(c), because the
                                                      1
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
           Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 8 of 31



1           In dismissing EI’s patent infringement suit on the pleadings, the Court held EI’s two patents
2    invalid under § 101: “[T]he court finds that both patents fail to claim patent-eligible subject matter,
3    and GRANTS defendants’ motion to dismiss and for judgment [of invalidity] on the pleadings.”
4    Dkt. No. 225, at 9. With this one order—without discovery or claim construction, much less a trial—
6    the Court eviscerated EI’s property rights, the life’s work of the inventor, and the capital interests of
7    his investors. To reach its decision, the Court treated the patent-eligibility test under § 101 as one
8    of law with no underlying facts. Based on this understanding, the Court considered only the
9    pleadings and the patents themselves. The Court refused to consider the declaration of EI’s technical
10   expert explicating EI’s inventions and the improvements to computer processing they represented
11   to a skilled artisan at the time of filing, and pointing out disputed factual issues necessary for the
12   Court’s decision. See Dkt. No. 225, at 8 n. 5 (“such a declaration is not appropriate for the court to
13   consider”). Finally, the Court dismissed this case without allowing EI to file an Amended Complaint
14   to set forth additional factual allegations in support of its position under § 101. See Dkt. No. 225, at
15   17.
16          But the Federal Circuit has now reversed course and clarified precedent, holding that § 101
17   involves issues of fact, and that Rule 12 dismissals such as this Court’s 2015 Order are improper
18   where facts supportive of eligibility under § 101 are alleged. As explained more fully infra Sec.
19   V.A, in Berkheimer the Federal Circuit court held that Step Two of the § 101 analysis involves a
20   question of fact. See Berkheimer, 881 F.3d at 1368-69 (“[t]he question of whether a claim element
21   or combination of elements is well-understood, routine and conventional to a skilled artisan in the
22   relevant field is a question of fact”). In Aatrix, the Federal Circuit vacated the “district court’s
23   dismissal pursuant to Rule 12(b)(6)” because there were “factual allegations …, which when
24   accepted as true, prevent dismissal pursuant to Rule 12(b)(6).” Aatrix, 882 F.3d at 1130. It held
25   that § 101 may be resolved at the Rule 12 stage “only when there are no factual allegations that,
26   taken as true, prevent resolving the eligibility question as a matter of law.” Id. at 1125 (emphasis
27

28   Court did not distinguish between the two standards, EI refers here only to Defendants’ “motion to
     dismiss.” See Dkt. No. 225, at 8 n. 4.
                                                     2
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
               Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 9 of 31



1    added). In Berkheimer/Aatrix, the Federal Circuit has thus clarified that determinations of patent-
2    eligible subject matter under § 101 can no longer be viewed as pure questions of law and, where
3    disputed factual issues are involved, are inappropriate for resolution at the Rule 12 stage. Had this
4    case been decided under now-controlling caselaw, Defendants’ motion to dismiss would have been
6    denied, since EI raised factual issues material to the § 101 determination in its Opposition Brief
7    drawn from the patents’ specification and its expert declaration. See Dkt. No. 193; Dkt. No. 193-1.
8               Not every case warrants vacatur under Rule 60(b)(6) because of an intervening change in the
9    law. 2 But here, EI argued throughout this case—all the way to the Supreme Court—that factual
10   issues were necessary to a determination of patent-eligible subject matter under § 101, and squarely
11   raised those issues with supporting evidence before this Court, only to have its position adopted by
12   the Federal Circuit less than three months after EI’s petition for certiorari in its own case was denied.
13   See infra Sec II-III. EI’s case thus presents “extraordinary circumstances” warranting relief under
14   Rule 60(b)(6), and is on all fours with the leading Rule 60(b)(6) case in the Ninth Circuit. See infra
15   Sec V.B-C. In order to vindicate EI’s right to due process, and basic notions of fairness, EI deserves
16   a chance to have its day in Court. This is the basis for EI’s Rule 60(b)(6) Motion. Moreover, EI’s
17   motion is timely brought. See Fed. R. Civ. P. 60(c) (stating that motions brought under Rule 60(b)(6)
18   “must be made within a reasonable time”); In re Pacific Far East Lines, Inc., 889 F.2d 242, 249 (9th
19   Cir. 1989) (“What constitutes a reasonable time [for Rule 60(b)(6) motions] depends on the facts of
20   each case.”) (quotation omitted).
21       II.    BACKGROUND
22              On October 6, 2015, this Court granted Defendants’ motion to dismiss on the pleadings and
23   held Plaintiff’s two patents invalid as a matter of law under 35 U.S.C. § 101—refusing to consider
24

25
     2
       While rare, vacatur under Rule 60(b) has been granted in at least one § 101 case due to
26   intervening developments in § 101 jurisprudence. See TNS Media Research LLC v. TIVO
     Research and Analytics, Inc., 223 F.Supp.3d 168, 170-82 (S.D.N.Y. 2016) (granting vacatur of
27   summary judgment of § 101 after “additional opinions issued by the Federal Circuit…further
     clarified” the “somewhat confused law” of § 101). And, notably, the PTO has voluntarily sought
28   vacatur of its own decision in at least one case in light of Berkheimer/Aatrix. See infra note 13.
     Vacatur under Rule 60(b)(6) is appropriate here, as well.
                                                        3
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 10 of 31



1    factual evidence in the patents themselves and in an expert declaration submitted by Plaintiff, 3 while
2    failing to resolve or acknowledge the factual disputes Plaintiff raised in its Opposition brief. 4 At the
3    time of this Court’s decision, and throughout the history of this case, the state of the law under § 101
4    was in flux. See, e.g., Papst Licensing Gmbh & Co. KG v. Xilinx Inc., 2016 WL 4398376, at *3
6    (N.D. Cal. Aug. 18, 2016) (noting that § 101 is “a complex and developing area of law”). Indeed,
7    until Berkheimer/Aatrix were issued in February 2018, there was no certainty about whether subject
8    matter eligibility under § 101 was itself a pure question of law, or whether it was dependent on
9    underlying factual inquiries. According to one scholar writing in this period, there were “deep
10   conflicts in the case law about whether eligibility [under § 101] is a question of law, fact, or a little
11   of both.” 5 As recently as December 1, 2017, district courts were imploring the Federal Circuit for
12   guidance on this very issue—guidance that was notably absent when this Court rendered its 2015
13   Order in this case. See, e.g., Intellectual Ventures II LLC v. FedEx Corporation, 2017 WL 6002762,
14   at *2 n. 1 (E.D. Tex. Dec. 1, 2017) (“Guidance from the Federal Circuit regarding the specific factual
15   inquiries underlying a § 101 determination is badly needed.”) (citation omitted). The PTAB, too,
16   was uncertain whether “the question of patent-eligibility is a pure question of law” or “if the question
17   of patent-eligibility is a question of law based on underlying facts…[which] have the potential of
18   controlling the ultimate determination.” IBG LLC v. Trading Techs. Int’l, Inc., 2017 WL 3394060,
19   at *13 (PTAB Aug. 7, 2017). 6
20
     3
       See Dkt. No. 225, at 8 n. 5 (refusing to consider Plaintiff’s expert declaration from a skilled
21   artisan in the relevant field, which “opines on various aspects of the prior art, and states his
     opinions regarding the ways in which the asserted patents claim patent-eligible subject matter,”
22   and instead deciding the eligibility of Plaintiff’s patents under § 101 as a matter of law).
     4
       See Dkt. No. 193, at 25 (“Plaintiff’s 2015 Opposition Brief”) (arguing that the court should
23   “delay ruling on the present motions until after claim construction” in “light of” underlying
     “factual disputes,” and noting that the “parties have serious disputes regarding claim
24   construction”); Dkt. No. 193-1 (Declaration of Plaintiff’s Expert Scott Taylor or “Taylor Decl.”);
     see also infra Sec. V.C (outlining the specific factual issues relevant to the § 101 analysis of
25   Plaintiff’s Patents, raised in Plaintiff’s 2015 Opposition brief and expert declaration).
     5
       Paul R. Gugliuzza, The Procedure of Patent Eligibility, at 25, Paper Presented at the Chicago IP
26   Colloquium at the Chicago-Kent College of Law (Jan. 23, 2018), available at
     http://chicagoip.com/files/2018/01/Gugliuzza.pdf
27   6
       Throughout the period leading up to Berkheimer/Aatrix, courts and commentators expressed their
     misgivings with the practice of deciding § 101 as a pure question of law, as another court’s 2015
28   Order. See, e.g., Intellectual Ventures II LLC, 2017 WL 6002762, at *2 n. 1 (E.D. Tex. Dec. 1,
     2017) (“Resolving validity issues at the Rule 12 stage can also tempt courts, sometimes
                                                         4
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 11 of 31



1           In February 2018, the Federal Circuit issued a pair of watershed decisions that changed all
2    this, and in May 2018 denied en banc rehearing, confirming those decisions as controlling precedent.
3    In Berkheimer and Aatrix, the Federal Circuit resolved that the analysis of patent-eligible subject
4    matter under § 101 is necessarily dependent on factual issues—in direct conflict with this Court’s
6    2015 Order, which treated its § 101 determination as a purely legal question and refused to consider
7    Plaintiff’s evidence raising disputed issues of fact. Compare Dkt. No. 225, at 8 n. 5 (refusing to
8    consider factual disputes raised by EI and factual evidence in EI’s expert declaration from a skilled
9    artisan in the relevant field, instead making its determination under § 101 as a matter of law), with
10   Berkheimer, 881 F.3d at 1368 (holding that the “question of whether a claim element or combination
11   of elements is well-understood, routine, and conventional to a skilled artisan in the relevant field” at
12   Step Two of the § 101 analysis “is a question of fact”), and Aatrix, 882 F.3d at 1125 (eligibility
13   under § 101 may be resolved at the Rule 12 stage “only when there are no factual allegations that,
14   taken as true, prevent resolving the eligibility question as a matter of law”) (emphasis added). In
15   declining to rehear Berkheimer/Aatrix en banc, five Federal Circuit judges wrote in concurrence that
16   determining “[w]hether a claim element or combination of elements would have been well-
17   understood, routine, and conventional to a skilled artisan in the relevant field at a particular point in
18   time may require weigh[ing] evidence, mak[ing] credibility judgments, and addressing narrow facts
19   that utterly resist generalization.” Berkheimer v. HP Inc., 890 F.3d 1369, 1370 (Fed. Cir. May 31,
20   2018) (“Berkheimer II”) (Moore, Dyk, O’Malley, Taranto, & Stoll, JJ., concurring denial of reh’g
21
     improperly, to conclude that certain concepts are conventional or routine by way of judicial notice
22   or treating this potentially factual question as a purely legal one…Moreover ignoring the role of
     factual determinations in the § 101 analysis subjects the resulting decision to de novo review,
23   producing increasing uncertainty in this area of the law and preventing trial courts and juries from
     serving as frontline adjudicators of facts”); see also Timothy R. Holbrook & Mark D. Janis,
24   Patent-Eligible Processes: An Audience Perspective, 17 Vand. J. Ent. & Tech. L. Rev. 349, 362,
     382 (2015) (observing that courts were deciding § 101 with “virtually nothing to guide and focus
25   the judicial imagination,” a “dynamic [that] becomes particularly salient when considering the
     procedural posture of these cases – motions to dismiss under Rule 12(b)(6) or 12(c),” and arguing
26   against the courts’ “problematic” practice of “kick[ing] the hypothetical person of ordinary skill in
     the art to the curb in favor of a discretionary analysis [by the court] that need not be constrained to
27   establish qualifying prior art evidence”); Raymond A Mercado, Resolving Patent Eligibility and
     Indefiniteness in Proper Context: Applying Alice and Aristocrat, 20 Va. J.L. & Tech. 240, 250,
28   257 (2016) (arguing that “[c]ourts are improperly resolving these cases in a vacuum, substituting
     their own perspective for that of the skilled artisan and ignoring critical fact issues.”).
                                                         5
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 12 of 31



1    en banc). The concurrence pointed out that the question underlying Step Two of the § 101 analysis
2    “is a question of historical fact.” Id. at 1371 n. 3.
3            In this case, EI raised numerous factual issues and offered factual evidence which—had this
4    Court treated its § 101 determination as dependent on underlying factual inquiries, as required under
6    now-controlling case law—should have led to the denial of Defendants’ motion to dismiss. See
7    infra Sec. V.C. (outlining the specific factual issues relevant to the § 101 analysis of EI’s Patents,
8    raised in EI’s specification, opposition brief, and expert declaration). Under Berkheimer/Aatrix, EI
9    would have had the opportunity to make its case on a more developed evidentiary record, and to
10   amend its complaint to add factual allegations relevant to § 101. Instead, this Court declared EI’s
11   two patents invalid without considering factual evidence in support of their validity, including: 1)
12   statements in the patents themselves supporting the unconventionality of the inventions, such as their
13   use of “unique” “value evolving container registers in conjunction with” other components, which
14   “allows the container to establish and evolve its own identity on the system”—enabling the
15   “dynamic governance of information” “utilized for the first time” in EI’s patents to “upgrade the
16   utility of, and develop intelligence in, a computer network” and reduce the “time consuming”
17   search techniques of the prior art 7; 2) expert testimony from a skilled artisan in the relevant field
18   (EI’s expert, Scott Taylor) describing EI’s inventions as “groundbreaking departures” from the state
19   of the art in 1998—the year the patents were filed—and comparing EI’s claimed uses of “dynamic
20   modifications in order to improve future processing efforts by computers” and make “computers
21   more efficient” than they were the under “static information model” prevailing in conventional
22   systems of the prior art; and 3) evidence from proceedings before the Patent Trial & Appeal Board
23   (“PTAB”) bearing on the proper construction of the claim terms “register” and “gateway,” and
24   suggesting that these terms (in combination with other claim elements) constitute “inventive
25   concepts.” EI’s evidence showed that—in contrast to conventional systems in which data remained
26   “inert, except by direct intervention of users”—EI’s “dynamic registers are updated with information
27

28   7
      See Dkt. No. 1-2 (“Exhibit A ‘536 Patent”), at 12:46-13:2; 13:42-13:44; 1:17-1:47 (emphasis
     added). EI’s two patents—U.S. 7,010,536 and 7,702,682—share the same specification.
                                                     6
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 13 of 31



1    regarding their use, allowing them to evolve without direct human input.” Dkt. No. 193-1 (“Taylor
2    Decl.”) ¶ 34; ¶ 18. Thus, EI’s evidence showed that its patents, in contrast with conventional
3    systems, improved the functioning of computers processing data by, e.g., allowing improved search
4    queries based on historically successful prior searches, or the relevance of content vis-à-vis time or
6    location. To achieve these improvements, EI’s patents employed an unconventional combination of
7    software components: “unique” “value evolving container registers in conjunction with” other
8    components which, together, “allows the container to establish and evolve its own identity on the
9    system.” Indeed, EI’s specification flatly stated that the “present invention” “upgrade[d] the utility
10   of… computer networks by offering the means to create and manipulate information containers with
11   dynamic registers.” Dkt. No. 1-2 at 12:46-13:2; 1:17-1:20. See infra Sec. V.C. Regardless of
12   whether Defendants or the Court agreed with EI on the merits, these factual allegations had to be
13   considered in the light most favorable to EI, requiring at the very least, a denial of Defendants’ Rule
14   12 motion. See Fed. R. Civ. P. 12. Indeed, any fair and serious consideration of such evidence
15   should ultimately confirm the eligibility of EI’s patents under § 101. See, e.g., Enfish LLC v.
16   Microsoft Corp., 822 F.3d 1327, 1355 (Fed. Cir. 2016) (holding patent claiming software
17   improvement to “computer functionality” patent-eligible under § 101).
18          After this Court’s 2015 Order, EI argued strenuously on appeal before the Federal Circuit,
19   in a petition for rehearing, and finally in its petition for certiorari to the Supreme Court, that the
20   determination of patentable subject matter under § 101 was dependent on factual issues, yet it lost
21   at every stage, including the denial of certiorari to the Supreme Court —only to have this same
22   question finally clarified by the Federal Circuit in Berkheimer/Aatrix and EI’s position vindicated
23   less than three months after EI’s own petition for certiorari was denied by the Supreme Court. See
24   Evolutionary Intelligence LLC v. Sprint Nextel Corp., 677 Fed.Appx. 679 (Fed. Cir. 2017), cert.
25   denied, 2017 WL 4811478 (U.S. Dec. 4, 2017).
26          That the dismissal and invalidation of EI’s patents was based solely on the pleading papers,
27   without consideration of any of the underlying factual issues raised by EI, is precisely the sort of
28   manifest injustice that relief under Rule 60 was designed to redress. As the Ninth Circuit observed

                                                     7
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 14 of 31



1    in the habeas context, “when a dismissal of a habeas petition rests upon an answer to an open legal
2    question that is promptly rejected and then replaced in a more authoritative opinion by the very
3    answer proposed by a diligent but unsuccessful petitioner, the petitioner is entitled to seek
4    reconsideration of the dismissal entered against him.” Phelps v. Alameida, 569 F.3d 1120, 1124-
6    1127 (9th Cir. 2009) (reversing denial of Rule 60 motion based on an intervening change in the law,
7    where the legal “position” the movant “had advocated all along” while the legal question was still
8    “open” eventually proved to be “legally correct” once it was adopted it as precedent in another case).
9    That is exactly the case here, in the § 101 context. And here, relief under Rule 60 is especially
10   warranted because, otherwise, “the true merits of [EI’s] case might never be considered.” Phelps,
11   569 F.3d at 1140 (quotation omitted). Unless this Court’s 2015 Order is vacated and EI’s factual
12   evidence relevant to the § 101 analysis is considered, the true merits of EI’s case will not be heard.
13   The Court’s 2015 Order, which expressly refused to consider factual evidence submitted by EI,
14   “precludes examination of the full merits” of EI’s case, preventing consideration of the specific
15   factual issues relevant to a proper § 101 analysis, and resulting in a judgment of patent invalidity
16   without any consideration of the merits. Phelps, 569 F.3d at 1140 (explaining that relief under Rule
17   60(b)(6) is especially warranted where “denial of relief [would] preclude[] examination of the full
18   merits” and “that in such instances even a slight abuse of [discretion] may justify reversal.”)
19   (quotation omitted). Indeed, in this case, the invalidation of an inventor’s life’s work and property,
20   without any consideration of the factual evidence EI submitted in support, contravenes EI’s right to
21   due process and cries out for relief under Rule 60(b)(6).
22          This is particularly so, given that the former Chief Judge of the Federal Circuit has singled
23   out the decision in this case as “difficult, if not impossible, to reconcile” with other Federal Circuit
24   rulings and testified to Congress that it is “[p]articularly troubling . . . when validly issued patent
25   claims are stricken in district court at the pleading stage, without regard to construing the patent
26   claims,” as was done here. 8       Even more importantly, the Federal Circuit itself has, since
27

28   8
      Paul R. Michel, The Impact of Bad Patents on American Businesses, Supplemental Statement of
     Judge Paul R. Michel (Ret.) Before the Subcommittee on Courts, Intellectual Property, and the
                                                     8
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
            Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 15 of 31



1    Berkheimer/Aatrix, specifically pointed to the importance of “expert testimony” when determining
2    the “conventionality of [a patent’s] components” under § 101. See Intellectual Ventures I LLC v.
3    Symantec Corp., 725 Fed.Appx. 976, 978 n. 1 (Fed. Cir. Mar. 15, 2018) (affirming district court’s
4    holding of ineligibility under § 101 because patent owner “did not offer expert testimony to show
6    the lack of conventionality” of its claimed invention) (emphasis added). In doing so, the Federal
7    Circuit followed the holdings of Berkheimer/Aatrix to their logical conclusion, suggesting that the
8    presence of expert testimony attesting to the unconventionality of a claimed invention (as here)
9    might alone be sufficient to preclude resolution of § 101 on a motion to dismiss. The Federal
10   Circuit’s decision in Symantec demonstrates that, where a patent owner submits expert testimony
11   “show[ing] the lack of conventionality” of his claimed invention—precisely what EI did here—he
12   has effectively raised a disputed issue of fact sufficient to preclude resolution of § 101 at either the
13   Rule 12 or summary judgment stage. Symantec, 725 Fed.Appx. at 978 n. 1.
14            As explained below, this Court’s 2015 Order Granting Defendants’ Motion to Dismiss is in
15   conflict with controlling law in Berkheimer/Aatrix. The “extraordinary circumstances” of EI’s case,
16   and the Phelps factors for granting relief under Rule 60(b)(6), strongly warrant granting EI’s Motion.
17   Accordingly, this Court should grant EI’s instant Motion for Relief, vacate its 2015 Order, and allow
18   EI’s case to proceed.
19   III.     PROCEDURAL HISTORY
20            EI filed complaints for patent infringement against Defendants in October 2012. The Court
21   stayed litigation after Defendants filed eight petitions before the PTO seeking inter partes review of
22   EI’s two patents. See Dkt. No. 123. The PTAB rejected seven of those petitions and, as to the
23   eighth, held a trial on the ‘536 patent, issuing final judgment in EI’s favor affirming every claim at
24   issue as valid. Following the confirmation of validity by the PTAB, the parties jointly filed a status
25   report requesting a case management conference, and the stay was lifted. See Dkt. No. 185.
26

27

28   Internet, at 18 (Sep. 12, 2017), available at http://www.ipwatchdog.com/wp-
     content/uploads/2017/09/Supplemental-Statement-ofPaul-R-Michel-Sept-12-2017.pdf
                                                        9
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 16 of 31



1           Defendants then moved to dismiss EI’s complaints under Rule 12, arguing that EI’s two
2    patents were invalid for failure to claim patent-eligible subject matter under § 101. See Dkt. No.
3    188. EI opposed, arguing that “Section 101 analysis is ‘rife with underlying factual issues,” citing
4    evidence from the specification and submitting expert testimony from a skilled artisan in the relevant
6    field supporting the unconventionality of the patents at Step Two of § 101, and requesting claim
7    construction. See Dkt. No. 193 at 24; Dkt. No. 193-1. On October 6, 2015, this Court granted
8    Defendants’ motion to dismiss and held EI’s patents invalid. See Dkt. No. 225. In doing so, the
9    Court also denied EI’s request for claim construction and refused to admit, much less consider, EI’s
10   expert testimony.
11          EI then appealed this Court’s 2015 Order to the Federal Circuit, arguing inter alia that “the
12   question of patent eligibility under section 101…necessarily depends on underlying factual issues,”
13   that this Court had “refused to consider the facts that were set forth in the declaration of [EI’s]
14   computer science expert, Scott Taylor,” and “relied upon no evidence to support the factual
15   determinations underpinning the court’s decision.” See Ex. 1 at 18, 27-28. 9 The Federal Circuit
16   affirmed this Court’s order on February 17, 2017. See Evolutionary Intelligence LLC v. Sprint
17   Nextel Corporation, 677 Fed.Appx. 679 (Fed. Cir. Feb. 17, 2017). On April 19, 2017, EI petitioned
18   for rehearing and rehearing en banc, arguing inter alia that “a ‘pleadings invalidation’ for failure to
19   satisfy section 101 is improper where conflicting factual issues exist” because “the analysis under §
20   101…is rife with underlying factual issues.” See Ex. 2 at 7-8, 13. On May 24, 2017, the Federal
21   Circuit denied EI’s petition in an unreported order.
22          Undeterred, EI filed a petition for certiorari before the Supreme Court on October 23, 2017,
23   arguing inter alia that “[b]oth steps” of the § 101 “analysis frequently involve disputed factual
24   issues,” and that here the “district court improperly resolved factual disputes against [EI] by
25   comparing the claimed invention to ‘age-old forms of information processing’” refuted by evidence
26   from the specification and EI’s expert, and by “determining—necessarily as a factual matter—that
27
     9
       EI hereby requests this Court take judicial notice of these and other filings, attached as Exs. 1-3,
28   since they are evidence of EI’s diligence and support its Motion. See Reyn’s Pasta Bella, LLC v.
     Visa USA, Inc., 442 F.3d 741, 746 n. 6 (9th Cir. 2006).
                                                       10
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
           Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 17 of 31



1    the patent’s methodology was similar to other previous methods.” See Ex. 3 at 12 & 17. Indeed,
2    the first question presented in EI’s petition for certiorari asked whether a court is authorized “to
3    invalidate a patent solely on the pleadings based on an abstractness argument that depends upon one
4    view of a disputed question of fact.” Id. at i. On December 4, 2017, the Supreme Court denied EI’s
6    petition for certiorari. See Evolutionary Intelligence LLC v. Sprint Nextel Corp., 138 S.Ct. 521
7    (2018).
8              Less than three months after this denial, the Federal Circuit finally clarified that, as EI had
9    argued all along, a determination of patent-eligible subject matter under § 101 necessarily involves
10   questions of fact, and that it may be rendered at the Rule 12 stage “only when there are no factual
11   allegations that, taken as true, prevent resolving the eligibility question as a matter of law.” Aatrix,
12   882 F.3d at 1125 (emphasis added); Berkheimer, 881 F.3d at 1368 (holding that the “question of
13   whether a claim element or combination of elements is well-understood, routine, and conventional
14   to a skilled artisan in the relevant field” at Step Two of the § 101 analysis “is a question of fact”).
15   On May 31, 2018, the Federal Circuit denied en banc rehearing in Berkheimer and Aatrix. EI now
16   files the instant Motion for Relief from the Court’s 2015 Order under Rule 60(b)(6).
17   IV.       APPLICABLE LAW
18             A.     Ninth Circuit Law Governs This Court’s Rule 60(b)(6) Analysis.
19          Because Rule 60(b) is “procedural in nature and not unique to patent law,” Ninth Circuit law
20   governs this Court’s analysis of motions under Rule 60(b), except where “a district court’s ruling
21   under Rule 60(b) turns on substantive issues unique to patent law,” in which case Federal Circuit
22   law would apply. Lazare Kaplan Inter., Inc. v. Photoscribe Technologies, Inc., 714 F.3d 1289, 1292
23   (Fed. Cir. 2013). Thus, even where the intervening change pertains to patent law, a Rule 60(b)
24   motion merely requires the Court to apply the law of the regional circuit and decide whether relief
25   is warranted. See, e.g., Ashland Oil, Inc. v. Delta Oil Prods. Corp., 806 F.2d 1031, 1032-33 (Fed.
26   Cir. 1986) (deciding a Rule 60(b) motion under the law of the regional circuit, though the intervening
27   change in the law was a change in obviousness doctrine under 35 U.S.C. § 103). The leading Ninth
28   Circuit case setting forth factors to guide district courts in granting relief under Rule 60(b)(6) is

                                                     11
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 18 of 31



1    Phelps v. Alameida, 569 F.3d 1120 (9th Cir. 2009), which governs the Court’s analysis here. This
2    case does not require the Court to decide any “substantive issue[] unique to patent law,” but simply
3    to assess the intervening change in the law of § 101 and, applying the factors set forth in Phelps, to
4    decide whether relief from the Court’s 2015 Order is warranted under Rule 60(b)(6). As in Ashland,
6    all this Court need do is apply the Ninth Circuit’s current test in Phelps governing the analysis of a
7    Rule 60(b)(6) motion, in the context of the intervening change in the law of § 101 represented by
8    Berkheimer/Aatrix, and in light of the facts of this case. However, even if a “substantive” patent
9    law issue were implicated in this case and Federal Circuit law therefore governed this Court’s
10   analysis, the Federal Circuit has not set forth specific factors guiding the analysis of Rule 60 motions.
11   See, e.g., Information Systems and Networks Corp. v. United States, 994 F.2d 792, 795 (Fed. Cir.
12   1993) (“While we have no considered binding case law precedent concerning . . . interpretation of .
13   . . Rule 60(b)(1), we are not unmindful of the actions of our sister circuits that have thoroughly
14   considered this issue.”). Thus, the Ninth Circuit’s factors in Phelps are still the natural starting-point
15   for this Court’s analysis. See Broyhill Furniture Industries, Inc. v. Craftmaster Furniture Corp., 12
16   F.3d 1080, 1083 n. 1 (Fed. Cir. 1993).
17           B.      Legal Standard For Relief Under Rule 60(b)(6).
18           Rule 60(b)(6) “affords courts the discretion and power to vacate judgments whenever such
19   action is appropriate to accomplish justice.” Phelps, 569 F.3d at 1135. A motion under “Rule 60
20   (b)(6) must be brought within a reasonable time,” and “[w]hat constitutes a reasonable time depends
21   on the facts of each case.” In re Pacific Far East Lines, Inc., 889 F.2d 242, 249 (9th Cir. 1989); Fed
22   R. Civ. P. 60(c). “[T]he exercise of a court’s ample equitable power under Rule 60(b)(6) to
23   reconsider its judgment requires a showing of extraordinary circumstances.” Phelps, 569 F.3d at
24   1135. In Phelps, the Ninth Circuit recognized that a motion for relief under Rule 60(b)(6) may be
25   predicated on an intervening change in the law (as here), and articulated six “factors” intended to
26   provide “useful guidance for courts applying Rule 60(b)(6).” Id. at 1137. The “six factors” set forth
27   in Phelps “may be considered, among others, to evaluate whether extraordinary circumstances exist”
28   warranting relief under Rule 60(b)(6). Lopez v. Ryan, 678 F.3d 1131, 1135 (9th Cir. 2012). Those

                                                     12
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
           Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 19 of 31



1    factors have since been applied in many contexts beyond the petition for habeas corpus at issue in
2    Phelps. See, e.g., Connelly v. Hilton Grand Vacations Company, 2017 WL 5194598 (S.D. Cal.
3    2017) (applying Phelps factors and granting Rule 60(b)(6) motion based on intervening change in
4    the law relating to finality of a stipulated dismissal of class action); Eubank v. Terminix
6    International, Inc., 2016 WL 6277422 (S.D. Cal. 2016) (applying Phelps factors and granting Rule
7    60(b)(6) motion based on intervening change in the law relating to federal preemption of state rule
8    barring waiver of class actions under PAGA).
9            These factors include: 1) “the nature of the intervening change in the law,” 2) the movant’s
10   “exercise of diligence in pursuing the issue,” 3) the parties’ reliance “interest in finality,” 4) the
11   extent of “delay between the finality of the judgment and the motion for Rule 60(b)(6) relief,” 5) the
12   “degree of connection” between the original judgment and the subsequent decision embodying the
13   change in the law, and 6) any concerns regarding the impact of the case on “comity” between state
14   and federal judiciaries. Lopez, 678 F.3d at 1136-1137 (citing Phelps, 569 F.3d at 1135-39). The
15   Supreme Court has added that “[i]n determining whether extraordinary circumstances are present”
16   warranting Rule 60(b)(6) relief, “a court may consider a wide range of factors,” including “the risk
17   of injustice to the parties” and “the risk of undermining the public’s confidence in the judicial
18   process.” Buck v. Davis, 137 S.Ct. 759, 778 (2017) (citation omitted).
19    V.     ARGUMENT
20           A.     The Federal Circuit’s Decisions in Berkheimer and Aatrix Represent an
                    Intervening Change in the Law of § 101, Holding That § 101 Determinations
21                  Involve Questions of Fact, and May Be Resolved at the Rule 12 Stage “Only”
                    Where “There Are No Factual Allegations” That Prevent Resolving § 101 As a
22                  Matter of Law.
23           As was immediately recognized throughout the patent law community, the Federal Circuit’s
24   decisions in Berkheimer and Aatrix were watersheds in the development of § 101 jurisprudence since
25   Mayo/Alice. 10 In response, the PTO issued a memorandum to its corps of patent examiners entitled
26   “Changes in Examination Procedure Pertaining to Subject Matter Eligibility, Recent Subject Matter
27

28   10
       EI requests the Court take judicial notice of the sources cited in this Section, as matters of public
     record demonstrating the impact of Berkheimer/Aatrix. See Reyn’s Pasta, 442 F.3d at 746 n. 6.
                                                       13
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 20 of 31



1    Eligibility Decision (Berkheimer v. HP, Inc.)”—the so-called “Berkheimer Memorandum.” 11 In that
2    memo, the PTO recognized the Federal Circuit’s holding that “[w]hether something is well-
3    understood, routine, and conventional to a skilled artisan at the time of the patent is a factual
4    determination” and sought to provide “additional USPTO guidance” for examiners tasked with
6    reviewing patent applications in accord with the new holding. 12 And pursuant to Berkheimer/Aatrix,
7    the PTO recently requested that the Federal Circuit vacate and remand a pending appeal to allow it
8    to reconsider the § 101 issues there in light of these decisions. 13 Other informed observers, such as
9    Robert Stoll, the former Commissioner for Patents at the PTO, commented: “[b]oth cases
10   [Berkheimer and Aatrix] held that there might be factual underpinnings in a Section 101 inquiry,
11   which heretofore had been considered a legal question for the judge. This means that at least
12   those cases with disputed facts regarding eligibility cannot be dismissed on pleadings or summary
13   judgment.” 14 As one journalist assessed the impact of Berkheimer, “the ruling [in Berkheimer]
14   marks the first time the Federal Circuit has held that patent eligibility involves factual questions
15   that could preclude summary judgment, rather than treating it as a legal issue.” 15 The same article
16   quotes a veteran patent practitioner as stating that the “Federal Circuit had never really said until
17   now that there are some underlying facts in [Section] 101.” 16 And, noting that, pre-Berkheimer, the
18   “ability of judges to decide Alice [i.e. Section 101] motions on summary judgment or motions to
19

20   11
        Robert W. Bahr, Deputy Commissioner for Patent Examination Policy, Changes in Examination
     Procedure Pertaining to Subject Matter Eligibility, Recent Subject Matter Eligibility Decision
21   (Berkheimer v. HP, Inc.), USPTO (Apr. 19, 2018), available at
     https://www.uspto.gov/sites/default/files/documents/memo-berkheimer-20180419.PDF.
22   12
        Id. at 2 (quoting Berkheimer, 881 F.3d at 1369). The PTO also issued a request for comments
     from the public regarding the impact of Berkheimer/Aatrix on determining whether a claim
23   element is “conventional” under § 101. See Request for Comments on Determining Whether a
     Claim Element Is Well-Understood, Routine, Conventional for Purposes of Subject Matter
24   Eligibility, 83 Fed. Reg. 17536 (Apr. 20, 2018).
     13
        See Gene Quinn, USPTO Asks Federal Circuit to Vacate, Remand 101 Case to Board in Light of
25   Berkheimer, IPWATCHDOG (Jun. 6, 2018), available at
     https://www.ipwatchdog.com/2018/06/06/uspto-federal-circuit-vacate-remand-101/id=98140/
26   14
        Robert Stoll, Alice Angst Intensifies, LAW360 (Mar. 23, 2018) (emphasis added), available at
     https://www.law360.com/articles/1025590/alice-angst-intensifies
27   15
        Ryan Davis, Quick Alice Wins May Be Tougher After Fed. Circ. Ruling, LAW 360 (Feb. 13,
     2018), available at https://www.law360.com/articles/1011140/quick-alice-wins-may-be-tougher-
28   after-fed-circ-ruling
     16
        Id. (emphasis added)
                                                      14
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 21 of 31



1    dismiss without fact-finding had made it difficult for patent owners to demonstrate that their claimed
2    invention covers something more than what was routine or conventional,” that article quotes the
3    same patent attorney as saying that “[u]p until now, that evidence was almost inadmissible in these
4    cases, so this is a big change.” 17 Another patent attorney is quoted as saying that “[t]his opinion
6    [in Berkheimer] is such a shift in how people have been understanding [Section] 101.” 18 Yet
7    another practitioner referred to“this change in the law.” 19 The Federal Circuit’s Judge Reyna
8    referred to the “profound change” of Berkheimer/Aatrix while dissenting from the court’s denial of
9    rehearing en banc. Berkheimer II, 890 F.3d at 1377 (Reyna, J., dissenting from denial of reh’g en
10   banc) (emphasis added). District courts, too—including this Court—have since recognized the
11   changes wrought by Berkheimer/Aatrix. See, e.g., Local Intelligence, LLC v. HTC America, Inc.,
12   2018 WL 1697127, at *6 (N.D. Cal. Apr. 6, 2018); American Axle & Manufacturing, Inc. v. Neapco
13   Holdings LLC, 2018 WL 1061371, at *6 n. 2 (D. Del. Feb. 27, 2018). 20             It is beyond dispute,
14   therefore, that the decisions in Berkheimer/Aatrix represent an intervening change in the law of §
15   101. Prior to those decisions, the law was anything but clear as to whether § 101 involved questions
16   of fact.
17              B.     Under Phelps’ Six-Factor Test for Determining Whether “Extraordinary
                       Circumstances” Exist, Relief from this Court’s 2015 Order is Warranted
18                     Under Rule 60(b)(6).
19                     1.      Lack of Clarity in the Law at the Time of the Original Decision.
20              In Phelps, the Ninth Circuit found that, where the state of the law is “decidedly unsettled,”
21   this “necessarily cuts in favor of granting a motion for relief under Rule 60(b)(6).” Phelps, 569 F.3d
22
     17
        Id. (emphasis added)
23   18
        Id. (emphasis added)
     19
        Ryan Davis, Getting Juries to Ax Patents Under Alice May Be Hard Sell, LAW360 (Mar. 5,
24   2018) (emphasis added), available at https://www.law360.com/articles/1017998/getting-juries-to-
     ax-patents-under-alice-may-be-hard-sell
25   20
        Just what a significant change this represented is evident not only from contemporaneous
     reactions, but also from pre-Berkheimer statements. As recently as December 1, 2017—69 days
26   before Berkheimer—district courts were imploring the Federal Circuit for guidance on this issue.
     See, e.g., Intellectual Ventures II LLC v. FedEx Corporation, 2017 WL 6002762, at * 2 n. 1
27   (“Guidance from the Federal Circuit regarding the specific factual inquiries underlying a § 101
     determination is badly needed . . .”) (citation omitted). Scarcely two weeks before Berkheimer,
28   one scholar referred to the “deep conflicts in the case law about whether eligibility is a question of
     law, fact, or a little of both.” See Gugliuzza, supra note 5, at 25.
                                                        15
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 22 of 31



1    at 1136 (emphasis added); see also Anderson v. Kane, 2009 WL 3059122, at *1 (D. Ariz. 2009)
2    (granting Rule 60(b)(6) motion and noting that since the issue was “not settled in the Ninth Circuit”
3    prior to the intervening change in law, this weighed in favor of Rule 60(b)(6) relief). Even where
4    the law is “settled” prior to an intervening change, however, this can still cut in favor of granting
6    relief under Rule 60(b)(6). See Lopez, 678 F.3d at 1136 (noting that even where the law is “settled”
7    prior to the intervening change, where the change in law is “remarkable”—even if “limited”—
8    “development,” it can “weigh slightly in favor of reopening [plaintiff’s]…case.”). Here, as indicated
9    supra Sec. II & V.A., the issue of whether § 101 is a question of law or fact, or a question of law
10   with factual underpinnings, was anything but “settled” at the time this Court issued its 2015 Order.
11   And from the reaction of the PTO and patent bar, it is clear that the changes brought about by
12   Berkheimer/Aatrix were “remarkable.” See supra Sec V.A. As such, this factor weighs in favor of
13   granting EI’s motion.
14                  2.       EI’s Manifest Diligence in Pursuing its Claim for Relief.
15          In Phelps, the court found a “sterling example of diligence” where the movant had pressed
16   his legal theory “[a]t every stage of this case.” Phelps, 569 F.3d at 1137. Here, EI has been similarly
17   diligent throughout this case. Like the movant in Phelps, EI has maintained in this Court, on appeal
18   to the Federal Circuit, on petition for rehearing, and on petition for certiorari, that § 101
19   determinations involved issues of fact and required consideration of the factual evidence EI
20   submitted. See supra Sec. III. And, much as in Phelps, the Federal Circuit adopted EI’s position
21   only after EI’s petition for certiorari was denied. See Id. at 1123. (“shortly after Phelps advanced
22   the precise interpretation of the law that would soon be adopted, his position was vindicated in a
23   case other than his own.”). EI’s clear diligence here weighs in favor of granting its motion.
24                  3.       Reopening the Case Would Not Upset the Parties’ Interest in Finality.
25          Although Defendants no doubt would prefer not to be parties to a live patent infringement
26   case, reopening this case would present less of a burden to Defendants than denial of the instant
27   motion would present to EI. EI has borne the burden of the wrongful outcome in this case, with its
28   two patents invalidated under no-longer-controlling law without the opportunity to have factual

                                                     16
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 23 of 31



1    disputes resolved or its evidence considered. This contravenes basic notions of fairness and due
2    process, and effectively deprived EI of free and fair access to the courts. Moreover, any interest in
3    finality did not prevent the court in TNS Media from vacating a § 101 decision when “justice”
4    required it, even though TNS Media was at a later stage than this case (summary judgment, compared
6    to the Rule 12 posture here), and the change in the law of § 101 there was arguably less significant
7    than Berkheimer/Aatrix. See TNS Media, 223 F.Supp.3d at 171. Accordingly, this factor should
8    weigh in favor of granting EI’s motion or, at worst, be found neutral.
9                   4.      Any Delay Between the Finality of the Judgment and the Instant
                            Motion for Relief Under Rule 60(b)(6) is Minimal.
10
            Under this factor, the Court considers “the delay between the finality of the judgment and
11
     the motion for Rule 60(b)(6) relief” and “emphasize[s] the petitioner’s diligence in challenging” the
12
     “judgment he now seeks to overturn.” Phelps, 569 F.3d at 1138. In Phelps, the Ninth Circuit held
13
     that a delay of “four months” “weighs strongly in Phelps’ favor.” Id. In Eubank v. Terminix
14
     International, Inc., 2016 WL 6277422, at *5 (S.D. Cal. Oct. 27, 2016), the court found a “nine month
15
     period between the date Plaintiff learned of” the intervening change in the law “and the date he filed
16
     the motion for reconsideration [under Rule 60(b)(6)] is reasonable.”          In Ritter, deemed an
17
     “instructive” decision by the Ninth Circuit in Phelps, a period of nine months was described as “only
18
     a very brief delay.” Phelps, 569 at 1137-38 (quoting Ritter v. Smith, 811 F.2d 1398, 1402 (11th Cir.
19
     1987)). In Jones v. Ryan, 733 F.3d 825, 829 (9th Cir. 2013), the court held even a seventeen-month
20
     delay between the intervening change in the law and the Rule 60(b)(6) motion had “little weight in
21
     either direction.”
22
            EI is filing this motion seven months since the May 31, 2018 denial of en banc rehearing on
23
     the intervening change in the law represented by the Federal Circuit’s decisions in
24
     Berkheimer/Aatrix, ten months since the February 2018 panel decisions in Berkheimer/Aatrix, and
25
     just over one year since the judgment in its case became final with the denial of EI’s petition for
26
     certiorari on December 4, 2017. See U.S. v. Colvin, 204 F.3d 1221, 1223 n. 2 (9th Cir. 2000)
27
     (judgment becomes final upon denial of petition for certiorari by Supreme Court). EI could not have
28
     challenged the judgment in this case on this basis until after February 8, 2018 (the date of the panel
                                                      17
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 24 of 31



1    decision in Berkheimer) at the earliest, and arguably would have been ill-advised to do so until the
2    denial of en banc rehearing in May 2018. Here, the ten-month delay since the panel decisions in
3    Berkheimer/Aatrix, and the twelve months since judgment became final in EI’s case, is scarcely
4    longer than the nine months deemed “brief” in Ritter and “reasonable” in Eubank, and weighs in
6    EI’s favor.
                    5.      The Close Relationship Between the Original Judgment and the
7                           Subsequent Intervening Change in the Law.
8           Here, the relationship between this Court’s 2015 Order and the subsequent changes in the
9    law represented by Berkheimer/Aatrix could hardly be closer. As discussed supra, this Court
10   expressly declined to consider the factual evidence submitted by EI, resolving the § 101 as a matter
11   of law. See Dkt. No. 225, at 8 n. 5. Subsequently, Berkheimer/Aatrix clarified that Step Two of the
12   § 101 analysis involves issues of fact. Thus, this Court’s 2015 Order resolving § 101 as a matter of
13   law was improper under Berkheimer/Aatrix at least because EI raised “genuine issue[s] of material
14   fact regarding whether the claim element or claimed combination is well-understood, routine, [or]
15   conventional to a skilled artisan in the relevant field.” Berkheimer, 881 F.3d at 1368. Accordingly,
16   this factor weighs heavily in favor of granting EI relief.
17                  6.      This Case Raises No Comity Concerns.
18          Under this factor, courts must consider the implications on “comity” between “independently
19   sovereign state and federal judiciaries” in granting Rule 60(b)(6) relief. Phelps, 569 F.3d at 1339.
20   Here, however, there would be no impact on the comity between state and federal courts by vacating
21   this Court’s 2015 Order in a federal patent case.
22                  7.      Additional Factors Warrant Vacatur.
23          The factors identified by Buck also weigh in favor of granting EI’s Motion. Buck, 137 S.Ct.
24   at 778. Here, the “risk of injustice” to EI is plain. Now that the factual underpinnings of § 101 are
25   recognized under Berkheimer/Aatrix, it would be unjust to deny EI the chance to make its case and
26   marshal all the factual evidence it can for the eligibility of its patents, given EI’s diligent advocacy.
27   Similarly, “the risk of undermining the public’s confidence in the judicial process” warrants granting
28   EI’s Motion as well. To leave the Court’s 2015 Order in place would be to affirm the decision of a

                                                     18
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
             Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 25 of 31



1    lay judge which failed to acknowledge disputed issues of fact and improperly substituted speculation
2    for evidence. See Intellectual Ventures II LLC, 2017 WL 6002762, at *2 n. 1 (“Resolving validity
3    issues at the Rule 12 stage can also tempt courts, sometimes improperly, to conclude that certain
4    concepts are conventional or routine by way of judicial notice”).          This can only undermine
6    confidence in the judiciary’s handling of § 101.
7              C.     Under Berkheimer/Aatrix, This Court Must Vacate Its 2015 Order and
                      Consider EI's Factual Evidence Before Ruling On Subject Matter Eligibility
8                     Under § 101.
9                     1.     Disputed Issue of Fact #1: Whether Statements in the Specification
                             Show That EI’s Claims Contain “Inventive Concepts” and
10                           Improvements to Computer Functionality, Compared to Conventional
                             Systems Using the “Static Information Model.”
11
               In opposing Defendants’ motion to dismiss, EI argued that its patents claim inventions “for
12
     improving the computerized processing of ‘containerized’ data” which, quoting the specification,
13
     involve “manipulating information containers with dynamic interactive registers in a computer,
14
     media or publishing network in order to manufacture information on, upgrade the utility of, and
15
     develop intelligence in, a computer network.” Dkt. 193, at 2 (quoting Dkt. No. 1-2, at 1:14-20)
16
     (emphasis added). Under Berkheimer/Aatrix, this statement alone should be sufficient to raise an
17
     issue of fact as to whether EI’s claims “according to the specification, provide[] benefits that improve
18
     computer functionality” sufficient for eligibility under § 101. Berkheimer, 881 F.3d at 1370. But
19
     EI’s specification contains a host of other evidence in support of eligibility. For example, EI cited
20
     portions of the specification describing numerous technical problems with the “static informational
21
     model” of the prior art, see Dkt. No. 193, at 4 (citing Dkt. No. 1-2, at 1:58-2:48), such as the “time
22
     consuming” nature of conventional search techniques. See Dkt. No. 1-2, at 1:43-1:54. Although the
23
     Court’s 2015 Order dismissed “the failure of the prior art to dynamically update data structures over
24
     time and by location, or based on search history” as “not even a computing problem, but an
25
     information organization problem,” Dkt. No. 225 at 13, EI’s specification provides evidence directly
26
     refuting the Court’s assertion. After outlining the problems of the prior art, the specification states
27
     that:
28

                                                     19
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
         Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 26 of 31



1           “there is a need for a system and methods for creating and manipulating
            information containers with dynamic interactive registers…in order to
2           manufacture information on, upgrade the utility of, and develop intelligence in,
            a computer network by providing a searching user the means to utilize the
3           searches of other users or the historically determined and compiled searches
            of the system, [and] a means to containerize information with multiple registers
4           governing the interaction of that container…” (2:49-60) (emphasis added)
6
     See Dkt. No. 193, at 8 (citing Dkt. No. 1-2, at 1:63-2:58; 2:41-63). Thus, contrary to the Court’s
7
     2015 Order, EI’s specification states that “there is a need for” an invention that “upgrade[s] the
8
     utility” of “a computer network” by providing the very software functionality claimed in EI’s
9
     patents. An “upgrade” to the “utility” of “a computer network,” as described in EI’s specification
10
     and claims, is virtually the definition of an “improvement to computer functionality itself,” in
11
     contrast to merely “economic or other tasks for which a computer is used in its ordinary capacity.”
12
     Enfish, 822 F.3d at 1336. There is no basis for disputing EI’s specification at the Rule 12 stage.
13
     See, e.g., Ancora Techs, Inc. v. HTC America, Inc., 908 F.3d 1343, 1349 (Fed. Cir. 2018) (reversing
14
     Rule 12 dismissal under § 101 because “the patent asserts, and we lack any basis for disputing” a
15
     “computer-functionality improvement”). To the extent the Court’s 2015 Order ignored or overruled
16
     EI’s specification on the factual question whether EI’s claims contain “inventive concepts” in their
17
     improvements to computer functionality, it did so as a matter of improper judicial notice. See
18
     Intellectual Ventures II LLC, 2017 WL 6002762, at *2 n. 1.
19
            In addition, the specification states that “value evolving container registers”—which it
20
     several times calls “unique”—used in conjunction with” other components, “allows the container
21
     to establish and evolve its own identity on the system,” enabling the “dynamic governance of
22
     information,” which is “utilized for the first time” in EI’s patents. Dkt. No. 1-2, at 12:45-13:35
23
     (emphasis added). Thus, the specification provides evidence that EI’s patents contain “inventive
24
     concepts” under § 101. Far from being conventional or “practiced by every local barista or bartender
25
     who remembers a particular customer’s favorite drink” as asserted in the Court’s 2015 Order (Dkt.
26
     No. 225 at 14), EI’s specification explicitly states that the “dynamic governance of information”
27
     achieved here was “utilized for the first time.” Dkt. No. 1-2, at 13:40-44 (emphasis added). Under
28

                                                     20
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 27 of 31



1    Berkheimer, this must be accepted as true at the Rule 12 stage. See Ancora, 908 F.3d at 1349 (“the
2    claim addresses a technological problem with computers…by relying on specific and unique
3    characteristics…that the patent asserts, and we lack any basis for disputing, were not previously used
4    in the way now claimed”). EI’s specification also describes other improvements to computer
6    functionality: e.g., that “registers appended to an information container” “accomplish real time
7    information about information usage on a network,” (Dkt. No. 1-2, at 13:1-27) thereby overcoming
8    the “time consuming” way search was done under the static information model of the prior art (id.,
9    at 1:44-46), clearly showing that EI does more than merely “tak[e] advantage of the conventional
10   advantages of computers in terms of efficiency and speed” (Dkt. 225 at 11, 17) since EI’s
11   specification states that conventional search was more “time consuming” than its own inventions.
12   Further, EI’s specification states that its “system becomes capable of becoming progressively more
13   responsive to the need of the user base” (Dkt. No. 1-2, at 13:32-34), which is clearly an improvement
14   to computer functionality rather than a use of the computer in its “ordinary capacity,” Enfish, 822
15   F.3d at 1336. The Court’s 2015 Order did not cite any of the evidence EI submitted from the
16   specification, instead determining that EI claimed “conventional” activity, a factual dispute improper
17   for resolution in this posture. 21 Thus, this Court’s Order, and the Federal Circuit decision affirming
18   on the ground that EI’s claims recite “conventional elements,” failed to consider evidence that EI
19   claimed specific, unconventional types of software structures (e.g., “unique” registers) which, used
20
     21
        Somewhat misleadingly, the Court’s 2015 Order stated that EI “concedes that the structures
21   recited in the claims are conventional and routine,” citing a portion of EI’s Opposition arguing that
     “[a]lthough the fundamental structures are containers, registers, and gateways,’ the claims are
22   patent-eligible because they implement the inventive concepts with ‘specific arrangements’ of
     structures (emphasis added).” Dkt. No. 225, at 11 (quoting Dkt. No. 193, at 17). But EI was not
23   conceding that its own inventions were somehow “fundamental” or “conventional” under § 101,
     though they may involve certain fundamental structures. Rather, EI was disputing that point and
24   pointing out that its inventions improved the functioning of the computer itself. True, EI did not
     invent the first “containers, registers, and gateways”—but this does not doom its claims. Here,
25   EI’s specification explicitly states that its use of “unique” “value evolving container registers”—in
     other words a specific, unconventional type of register—“in conjunction with” other components,
26   “allows the container to establish and evolve its own identity on the system,” enabling the
     “dynamic governance of information,” which is “utilized for the first time” in EI’s patents. Dkt.
27   No. 1-2, at 12:45-13:35. This was an inventive concept, and EI explicitly argued that it claimed
     “particular types” of certain “fundamental structures” “must interact in a specific manner” to
28   achieve its inventions. Dkt. No. at 193, at 17.

                                                     21
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
            Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 28 of 31



1    in conjunction, achieved an “upgrade” to the functionality of computer networks enabling the
2    “dynamic governance of information” “utilized for the first time” in EI’s patents. These inventive
3    concepts are captured in the asserted claims. Under Berkheimer/Aatrix, EI should be allowed to
4    present this and other evidence from the specification in support of its patents’ eligibility under §
6    101.
7                    2.      Disputed Issue of Fact #2: Whether EI’s Expert Testimony Shows That
                             One Skilled in the Art at the Time of Filing (1998) Would Recognize
8                            EI’s Claimed Inventions to Be “Groundbreaking Departures from the
                             Static Information Model” Used by Conventional Systems.
9
              In opposing Defendants’ motion to dismiss, EI argued that “the inventions of the Asserted
10
     Patents” were “groundbreaking departures from the static information model” prevailing among
11
     conventional prior art systems—the issue squarely identified by Berkheimer as a question of fact
12
     necessary to a § 101 analysis. Dkt. No. 193, at 4; see Berkheimer, 881 F.3d at 1369. In support of
13
     its position, EI submitted expert testimony from Scott Taylor, a person of ordinary skill in the art of
14
     computer science, who had worked at Cray Research, Prisa Networks, and Sun Microsystems
15
     throughout the period leading up to the filing of EI’s patents in 1998. See Dkt. No. 193-1 at ¶¶ 4-6.
16
     EI’s expert had worked on products “supporting the static information model,” which was the
17
     prevailing approach of the prior art at the time EI’s patents were filed, making his testimony
18
     particularly relevant to the factual question “whether something is well-understood, routine, and
19
     conventional to a skilled artisan at the time of the patent.” Berkheimer, 881 F.3d at 1369.
20
              Yet the Court explicitly refused to consider EI’s expert declaration, though EI’s expert was
21
     well-qualified to provide testimony regarding EI’s patents vis-à-vis the prior art of the period. EI’s
22
     expert meticulously set forth the reasons one of skill in the art would have understood the patents to
23
     be “groundbreaking departures from the prior art static information model.” Dkt. No. 193-1 at ¶¶
24
     33-38. It is these dynamic registers, “identifying times” and “identifying space,” “relative to”
25
     ongoing indeterminable “events” in time and movements in “three-dimensional space,” that are
26
     claimed as “governing interactions of the container with other containers, systems or processes.”
27
     Dkt. No. 193, at 6. According to the specification, this was done “for the first time” in EI’s patents,
28
     and the registers EI used were “unique.” Dkt. No. 1-2, at 13:42-44; 13:1-2. As EI’s expert explained,
                                                     22
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 29 of 31



1    under the “static information model” prevailing in the prior art by 1998, a “document remain[ed]
2    inert, except by the direct intervention of users, and [was] modified neither by patterns of history of
3    usage on the network, or the existence of other content on the network.” Dkt. No. 193-1 at ¶ 18
4    (quoting Dkt. No. 1-2, at 1:58-62). EI’s patents, by contrast, taught a way to manipulate information
6    containers with dynamic registers, which are informed by unpredictable future events in the world
7    outside, e.g., “event times” or movements in “three-dimensional space.” Far from being the wholly
8    passive receptacles of “inert” data under the static information model, EI’s “unique” dynamic
9    registers governed the interactions of information containers according to new or unexpected events.
10   “As users access the information containers, the dynamic registers are updated with information
11   regarding their use, allowing them to evolve without direct human input”—a functionality that was
12   not possible under the static information model of the prior art, in which a “storage medium” was
13   not “altered according to the actual recorded and analyzed hierarchically graded usage of any given
14   information resource residing on that storage medium.” Dkt. No. 193-1 at ¶¶34; 18. Among the
15   technical benefits of EI’s inventive use of dynamic registers was that they made “future processing
16   of time and location information by computers more efficient.” Dkt. No. 193, at 4 (citing Dkt. No.
17   193-1 ¶ 40). In the ’536 Patent, for example, “the dynamic registers are updated with information
18   regarding their use, allowing them to evolve without human input,” whereas under the static
19   information model they would have remained “inert.” Id. at 5. And in the ‘682 Patent, EI’s dynamic
20   registers make “dynamic modifications when processing search queries in order to make future
21   processing of search queries by computers more efficient.” Id. at 8 (citing Dkt. No. 193-1 at ¶ 37).
22   Thus, whereas under the static information model, “successful search strategies were not available
23   to others,” EI’s invention allowed the use of “historical data” associated with successful searches to
24   improve future search queries, and hence improved the functioning of a computer employed in
25   performing such searches. Id. at 8. Accordingly, EI’s expert concluded that “[o]ne of skill in the
26   art at the time the patent application was filed would understand the inventions of the Asserted
27   Patents to be groundbreaking departures from the static information model” of the prior art. Dkt.
28

                                                     23
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
          Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 30 of 31



1    No. 193-1 at ¶ 38 (emphasis added). 22 Under Berkheimer/Aatrix, and Symantec, 725 Fed.Appx. at
2    978 n. 1, EI’s expert testimony is sufficient to raise a question of fact precluding dismissal under §
3    101 at the Rule 12 stage.
4                   3.       Disputed Issue of Fact #3: Whether the Claim Terms “Register” and
                            “Gateway,” in Combination With Other Elements, Constitute
6                           Inventive Concepts Under § 101, In Light of Evidence from the
                            Specification, Expert Testimony, and IPR Proceedings.
7
            In Aatrix, the Federal Circuit vacated a Rule 12 dismissal because there were “factual
8
     disputes underlying the § 101 analysis, such as whether the claim term ‘data file’ constitutes an
9
     inventive concept, alone or in combination with other elements, sufficient to survive an Alice/Mayo
10
     analysis at the Rule 12(b)(6) stage.” Id. at 1126. Here, EI argued in its Opposition that the claim
11
     terms “register” and “gateway” were far narrower than Defendants asserted and, properly construed,
12
     these claim terms in combination with other elements taught inventive concepts. Dkt. No. 193, at
13
     17 & 25. EI submitted evidence in which the PTAB rejected Defendants’ construction. Id. (citing
14
     Dkt. No. 193-4, Dkt No. 193-5 at 8, 11). In addition, EI submitted evidence from its expert “that
15
     the Defendants’ proposed constructions of these terms are overly broad,” maintaining that there were
16
     “factual disputes” relevant to this construction. Id. (citing Dkt. No. 193-1 at ¶ 48). EI’s expert
17
     opined that “registers” and “gateways” were terms “specifically within the context of computer
18
     systems” and that “one of skill in the art would understand that tangible labels and corresponding
19
     ‘rules’ and ‘instructions’ for manipulating physical containers would be incapable of fulfilling the
20
     computer-specific tasks that are required by the claims.” Dkt. No. 193-1 at ¶ 48 (emphasis
21
     added). For example, EI’s expert stated that, as claimed in the patents, “gateways . . . must be
22
     capable of ‘controlling the interaction of the containers, systems or processes,’” and that “‘registers’
23
     must be capable of being ‘encapsulated and logically defined in a plurality of containers.’” Id. This
24
     evidence, together with the specification’s statement that the “registers” employed by EI’s patents
25

26   22
       Further demonstrating that EI’s patents were “groundbreaking departures” from conventional
     practice, EI submitted evidence from prior IPR proceedings involving “fifteen examples of
27   systems” used in the prior art which the PTO found “process data without practicing the patents’
     claims.” Dkt. No. 193, at 22 (emphasis original) (citing Dkt. No. 193-1 at ¶ 47); see also Dkt. No.
28   193-5 – Dkt. No. 193-12 (“Exs. B-I”) (evidence from IPR proceedings upholding the validity of
     EI’s patents over fifteen prior art references).
                                                      24
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
           Case 4:13-cv-04513-PJH Document 239 Filed 12/29/18 Page 31 of 31



1    are “unique” and enable “the dynamic governance of information” “utilized for the first time” (Dkt.
2    No. 1-2, at 13:42-44; 13:1-2), raises a factual question whether the claim term “register” and
3    “gateway” contain inventive concepts precluding dismissal at the Rule 12 stage under Aatrix.
4    VI.     CONCLUSION
6            Given that EI raised factual issues virtually identical to those held in Berkheimer/Aatrix to
7    be the factual underpinnings of a proper § 101 determination, and in light of the evidence EI
8    submitted, and the legal position it diligently advocated for—which the Federal Circuit ultimately
9    adopted in Berkheimer/Aatrix—this case meets the Phelps factors and presents the “extraordinary
10   circumstances” warranting relief from judgment under Rule 60(b)(6). Accordingly, for the reasons
11   set forth above, this Court’s 2015 Order should be vacated under Rule 60(b)(6) so that EI’s case can
12   proceed, and EI can present additional evidence relating to eligibility under § 101.
13                                                Respectfully Submitted,
14                                                /s/ Nicholas Ranallo
15                                                Nicholas Ranallo
                                                  Ranallo Law Office
16                                                2443 Fillmore St., #380-7508
                                                  San Francisco, CA 94115
17                                                Phone: (831) 607-9229
18                                                nick@ranallolawoffice.com

19                                                /s/ Isaac Rabicoff
                                                  Isaac Rabicoff
20                                                (Pro Hac Vice Admission Pending)
                                                  isaac@rabilaw.com
21

22                                                /s/ Kenneth Matuszewski
23                                                Kenneth Matuszewski
                                                  (Pro Hac Vice Admission Pending)
24                                                kenneth@rabilaw.com
                                                  Rabicoff Law LLC
25                                                73 West Monroe Street
                                                  Chicago, IL 60603
26                                                Phone: (773) 669-4590
27
                                                  Counsel for Plaintiff
28

                                                     25
     Evolutionary Intelligence, LLC v. Sprint Nextel Corp. et al., Case No. 5:13-cv-4513-RMW
     Plaintiff’s Memorandum of Points and Authorities in Support of Motion For Relief from Judgment
